JS 44 (Rev, 06/17)

provided by local rules of court. This form, approved by the Judicial Con
purpose of initiating the civil docket sheet.

Case 3:20-Cv-05980- Gy CBR HER CHEF TERS 12/09/20 Page 1of1

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
i erence of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a) PLAINTIFFS
SKANSKA USA CIVIL SOUTHEAST INC.
SKANSKA USA, INC.

(b) County of Residence of First Listed Plaintiff ORANGE - ;
(EXCEPT IN U.S. PLAINTIFF CASES)

CHE FETTER Ae Ys “eta Bae TORCH N
801 Travis, Suite 1910 125 E. Intendencia St.
Houston, Texas 77002 Pensacola, FL 32502

NOTE:

 

DEFENDANTS

Attorneys (If Known)

County of Residence of First Listed Defendant

 

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

(For Diversity Cases Only)

Ill. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

 

Ol US, Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State O1 © 1 Incorporated or Principal Place o4 oO4
of Business In This State
O 2 U.S. Government O 4 Diversity Citizen of Another State oO 2 O 2 Incorporated and Principal Place o5 o85
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O03 © 3 Foreign Nation o6 O86
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
gE CONTRACT TORTS FORFEITURE/PENALTY BANKRUPICY. OTHER STATUTES _]
© 110 Insurance PERSONAL INJURY PERSONALINJURY |0 625 Drug Related Seizure 1 422 Appeal 28 USC 158 © 375 False Claims Act
© 120 Marine © 310 Airplane © 365 Personal Injury - of Property 21 USC 881 |O 423 Withdrawal 1 376 Qui Tam (31 USC
© 130 Miller Act O 315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
0 140 Negotiable Instrument Liability O 367 Health Care/ © 400 State Reapportionment
5 150 Recovery of Overpayment |( 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury © 820 Copyrights O 430 Banks and Banking
©] 151 Medicare Act © 330 Federal Employers’ Product Liability © 830 Patent O 450 Commerce
O) 152 Recovery of Defaulted Liability 0 368 Asbestos Personal © 835 Patent - Abbreviated 0 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) 0) 345 Marine Product Liability 1 840 Trademark Corrupt Organizations
(7 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR _ SOCIAL SECURITY J 480 Consumer Credit
of Veteran's Benefits 0 350 Motor Vehicle O 370 Other Fraud O 710 Fair Labor Standards © 861 HIA (1395ff) 0 490 Cable/Sat TV
© 160 Stockholders’ Suits [1 355 Motor Vehicle O 371 Truth in Lending Act C7) 862 Black Lung (923) 0 850 Securities/Commodities/
0 190 Other Contract Product Liability O 380 Other Personal O 720 Labor/Management 863 DIWC/DIWW (405(g)) Exchange
© 195 Contract Product Liability | 360 Other Personal Property Damage Relations O 864 SSID Title XVI 0% 890 Other Statutory Actions
0 196 Franchise Injury 4 385 Property Damage © 740 Railway Labor Act C1 865 RSI (405(g)) O 891 Agricultural Acts
C1 362 Personal Injury - Product Liability O 751 Family and Medical O 893 Environmental Matters
Medical Malpractice Leave Act O 895 Freedom of Information
L REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS [0 790 Other Labor Litigation FEDERAL TAX SUITS Act
© 210 Land Condemnation 0 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement O 870 Taxes (U.S. Plaintiff O 896 Arbitration
©) 220 Foreclosure 0 441 Voting OF 463 Alien Detainee Income Security Act or Defendant) 0 899 Administrative Procedure
© 230 Rent Lease & Ejectment 0 442 Employment © 510 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
© 240 Torts to Land 0 443 Housing/ Sentence 26 USC 7609 Agency Decision
©} 245 Tort Product Liability Accommodations O 530 General © 950 Constitutionality of
© 290 All Other Real Property 0 445 Amer. w/Disabilities -| 1 535 Death Penalty IMMIGRATION State Statutes
Employment Other: © 462 Naturalization Application
G 446 Amer, w/Disabilities -] J 540 Mandamus & Other | 465 Other Immigration
Other 0 550 Civil Rights Actions
0 448 Education O 555 Prison Condition
0 560 Civil Detainee -

 

 

Conditions of
Confinement

 

 

 

 

V. ORIGIN (Place an “X" in One Box Only)

mw Original O 2 Removed from O 3 Remanded from O 4 Reinstatedor © 5 Transferred from © 6 Multidistrict O 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

VII. REQUESTED IN

46 U.S.C.A. § 30501 et seq
Brief description of cause:

LIMITATION OF LIABILITY FOR VESSEL OWNER
QO) CHECK IF THIS IS A CLASS ACTION DEMAND $

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):

CHECK YES only if demanded in complaint:

 

 

 

 

FOR OFFICE USE ONLY

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: O Yes No
VITI. RELATED CASE(S) (see can
ee insiructions):
IF ANY JUDGE ___DOCKETNUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD _ oe aes
12/09/2020 _—— SH 2

RECEIPT #

AMOUNT

ee

APPLYING IFP iC —

 
